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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA



  MUÑOZ, Sandra; ASENCIO-                     Case No. 2:17-CV-00037-AS
  CORDERO, Luis Ernesto,
                           Plaintiffs,        [PROPOSED] ORDER
                                              GRANTING UNOPPOSED
                                              STIPULATION FOR ORDER
                           v.                 CONTINUING SUPPLEMENTAL
                                              BRIEFING SCHEDULE
  U.S. DEPARTMENT OF STATE; Mike
  POMPEO, U.S. Secretary of State; Mark
  LEONI, United States Consul General,
  San Salvador, El Salvador.
                           Defendants.


       Having considered Defendants’ Unopposed Stipulation for Extension
 of Supplemental Briefing Schedule, and finding good cause therefore, IT IS
 HEREBY ORDERED that the unopposed stipulation is GRANTED.

       The briefing schedule is hereby extended by 10 days, causing the
 Government’s deadline to file a supplemental brief to be enlarged from
 October 30, 2018 to November 9, 2018 and Plaintiffs’ deadline to be
 enlarged from November 20, 2018 to November 30, 2018.


 Date: _________________
       November 1, 2018                    ___________________________
                                                         /s/
                                           HONORABLE ALKA SAGAR
                                           United States Magistrate Judge
